                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

  IN THE MATTER OF S.B., A MINOR            )
  STUDENT, BY AND THROUGH HIS               )
  PARENTS, M.B. AND L.H.;                   )
                                            )
  M.S., A MINOR STUDENT, BY AND             )
  THROUGH HER PARENT, K.P.                  )
                                            )
  T.W., A MINOR STUDENT, BY AND             )
  THROUGH HIS PARENTS, M.W. AND J.W.        )
                                            )
  And                                       )
                                            )
  M.K., A MINOR STUDENT, BY AND             )
  THROUGH HER PARENT, S.K                   )
                                            )
         Plaintiffs,                        )
                                            ) No. 3:21-cv-00317-JRG-DCP
  v.                                        )
                                            )
  GOVERNOR BILL LEE, in his official        )
  Capacity as GOVERNOR OF TENNESSEE         )
  And KNOX COUNTY BOARD OF                  )
  EDUCATION                                 )
                                            )
         Defendants,                        )
                                            )
  And                                       )
                                            )
  M.M, A STUDENT WHO HAS REACHED THE )
  AGE OF MAJORITY, and E.M. and D.M., MINOR )
  STUDENTS, BY AND THROUGH THEIR            )
  PARENT, P.M.                              )
                                            )
         Intervenors-Defendants.            )

    PROPOSED INTERVENOR-DEFENDANTS’ OBJECTION TO THE ORDER FILED
    ON APRIL 27, 2022, PURSUANT TO FED. R. CIV. P. 46; AND MOTION TO ALTER
                   OR AMEND PURSUANT TO FED. R. CIV. P. 59.04

         Proposed Intervenor-Defendants, MM, EM, and DM (collectively, Intervenors), object to

  the order filed on April 27, 2022 [Doc. 133], dismissing their motion to intervene as moot,




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  and move this Court to alter or amend this order pursuant to Fed. R. Civ. P 59(e). Intervenors

  state:

           1.    Although most precedent on intervention is geared towards parties who attempt to

  intervene as plaintiffs, an intervenor defendant may continue to litigate issues that are settled by

  a consent decree by original parties. See, e.g., Local No. 93, Intern. Ass’n of Firefighters, AFL-

  CIO C.L.C. v. City of Cleveland, 478 U.S. 501, 529 (1986); Benavidez v. Eu, 34 F.3d 825, 830

  (9th Cir. 1994), citing Horn v. Eltra Corp., 686 F.2d 439, 440 (6th Cir. 1982).

           2.    Plaintiffs continue to assert substantive issues in which Intervenors have an

  interest. Plaintiffs seek a permanent injunction against Executive Order 84, which provided

  parents the opportunity to have their children opt out of a face covering mandate imposed by a

  local school system. Intervenors have an interest in the ability of Tennessee Gov. Bill Lee to

  issue executive orders preserving constitutional rights over bodily autonomy, regardless of

  whether Plaintiffs’ proposed ADA remedy is effective or not.

           3.    Intervenors seek the amendment of this Court’s order, so that Intervenors’ Motion

  to Intervene [Doc. 115] is not denied as moot, but is instead restored to the active docket, with

  the parties resuming the briefing schedule.

                 Respectfully submitted this 25th day of May, 2022.



                                                        s/ W. Andrew Fox
                                                        W. Andrew Fox, BPR No. 017356
                                                        Attorney for Proposed Intervenors
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                                          Certificate of Service

         I hereby certify that on the 25th day of May, 2022, I electronically filed the foregoing

  document with the Clerk of Court and that the foregoing document will be served via the CM/ECF

  system on all counsel of record.


                                                 s/ W. Andrew Fox
                                                 W. Andrew Fox
                                                 Attorney for Intervenor-Defendants




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